            Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION




        Cedar Lane Technologies Inc.,                               Case No. 6:22-cv-1120

                Plaintiff,                                          Patent Case

                v.                                                  Jury Trial Demanded

        STMicroelectronics, Inc.,

                Defendant.



                               COMPLAINT FOR PATENT INFRINGEMENT

       1.      Plaintiff Cedar Lane Technologies Inc. (“Plaintiff”), through its attorneys,

complains of STMicroelectronics, Inc. (“Defendant”), and alleges the following:

                                                PARTIES

       2.      Plaintiff Cedar Lane Technologies Inc. is a corporation organized and existing

under the laws of Canada that maintains its principal place of business at 560 Baker Street, Suite

1, Nelson, BC V1L 4H9.

       3.      Defendant STMicroelectronics, Inc. is a corporation organized and existing under

the laws of Delaware that maintains an established place of business at 8501 N Mopac Expy

#420, Austin, TX 78757.

                                             JURISDICTION

       4.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.




                                                1
            Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 2 of 7




       5.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

       6.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                   VENUE

       7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                              PATENTS-IN-SUIT

       8.      Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

6,972,790; and 8,537,242 (the “Patents-in-Suit”); including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Patents-in-Suit. Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the

present action for infringement of the Patents-in-Suit by Defendant.

                                              THE ’790 PATENT

       9.      The ’790 Patent is entitled “Host interface for imaging arrays,” and issued 2005-

12-06. The application leading to the ’790 Patent was filed on 2000-12-21. A true and correct

copy of the ’790 Patent is attached hereto as Exhibit 1 and incorporated herein by reference.

                                              THE ’242 PATENT

       10.     The ’242 Patent is entitled “Host interface for imaging arrays,” and issued 2013-

09-17. The application leading to the ’242 Patent was filed on 2005-10-27. A true and correct

copy of the ’242 Patent is attached hereto as Exhibit 2 and incorporated herein by reference.

                              COUNT 1: INFRINGEMENT OF THE ’790 PATENT
                                              2
          Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 3 of 7




       11.     Plaintiff incorporates the above paragraphs herein by reference.

       12.     Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’790 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’790 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’790 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’790 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       13.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’790 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       14.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       15.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’790 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’790 Patent. See Exhibit 3

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

                                                  3
          Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 4 of 7




       16.      Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’790 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’790 Patent.

       17.      Exhibit 3 includes charts comparing the Exemplary ’790 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’790 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’790 Patent Claims.

       18.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 3.

       19.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 2: INFRINGEMENT OF THE ’242 PATENT

       20.      Plaintiff incorporates the above paragraphs herein by reference.

       21.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’242 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’242 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’242 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the




                                                   4
          Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 5 of 7




’242 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       22.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’242 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       23.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       24.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’242 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’242 Patent. See Exhibit 4

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       25.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’242 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’242 Patent.

       26.     Exhibit 4 includes charts comparing the Exemplary ’242 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products




                                                   5
             Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 6 of 7




practice the technology claimed by the ’242 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’242 Patent Claims.

        27.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 4.

        28.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        29.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’790 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’790 Patent;

        C.      A judgment that the ’242 Patent is valid and enforceable

        D.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’242 Patent;

        E.      An accounting of all damages not presented at trial;

        F.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                for Defendant's continuing or future infringement, up until the date such judgment

                is entered with respect to the ’790; and ’242 Patents, including pre- or post-

                judgment interest, costs, and disbursements as justified under 35 U.S.C. § 284;




                                                     6
           Case 6:22-cv-01120-ADA Document 1 Filed 10/26/22 Page 7 of 7




      G.       And, if necessary, to adequately compensate Plaintiff for Defendant's

               infringement, an accounting:

                i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                     and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                     that it incurs in prosecuting this action;

               ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                     this action; and

              iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                     deems just and proper.


Dated: October 26, 2022                        Respectfully submitted,

                                               /s/ Isaac Rabicoff
                                               Isaac Rabicoff
                                               Rabicoff Law LLC
                                               5680 King Centre Dr, Suite 645
                                               Alexandria, VA 22315
                                               7736694590
                                               isaac@rabilaw.com


                                               Counsel for Plaintiff
                                               Cedar Lane Technologies Inc.




                                                  7
